                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                   Plaintiff,
      v.                                                        Case No. 90-CR-42

ANTHONY D. WHITE,

                   Defendant.


                                      ORDER

      On October 6, 2010, defendant Anthony D. W hite (“W hite”) filed a Motion for

W rit of Error Auditha Querela (Docket #524). W hite’s motion ultimately asks that the

court vacate his prior resentencing on the basis that he was improperly given a two-

level sentencing guideline enhancement. In an effort to have his claim heard, White

attempts two different characterizations of his motion: as one requesting a writ of

error auditha querela; or one for a reduction of sentence pursuant to 18 U.S.C.

§ 3582. The reason for offering both explanations appears to be in order to avoid

characterization of his motion as a successive § 2255 motion.          The following

discussion explains why both characterizations fail and the court is ultimately

constrained to dismiss the motion as successive.

                                  BACKGROUND

      A discussion of the factual and procedural background of this case is useful

before diving into the analysis. This case stems from an original conviction entered

in 1990 for participating in a cocaine distribution network. W hite was convicted of


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conspiring to possess with intent to distribute (Count 1), using a communication

facility to facilitate a felony (Count 16), and using a firearm during and in relation to

a drug trafficking offense (Count 35). The court sentenced W hite to 355 months

imprisonment.    The Seventh Circuit affirmed his conviction, but remanded for

resentencing, after which the court sentenced W hite to 295 months as to Count 1,

48 months as to Count 16 to run concurrently, and 60 months consecutive as to

Count 35, resulting in an identical total sentence of 355 months. The Seventh Circuit

affirmed the sentence.

      However, in 1997 W hite filed a motion pursuant to 28 U.S.C. § 2255

challenging his conviction for the use of a firearm. The challenge came after the

Supreme Court’s decision in Bailey v. United States, 516 U.S. 137 (1995), and this

court agreed that the decision invalidated the firearm conviction. The court granted

W hite’s motion in part, vacating the firearm conviction, and denied two other claims

for relief. As such, the court resentenced W hite and entered a Second Amended

Judgment on March 20, 1998. The court, while vacating the firearm charge, Count

35, sentenced W hite to a term of 355 months as to Count 1 and 48 months

concurrent as to Count 16, again resulting in a total sentence of 355 months. The

Seventh Circuit affirmed on April 27, 1999. It is with this sentence that W hite has a

bone to pick. As the court explained at resentencing, the facts previously applicable

to Count 1 resulted in a guideline sentencing range of 262 to 327 months. (Tr. of

Resentencing Hr’g 11:8-11:10) (Docket #430). The court originally imposed a mid-

range sentence of 295 months on Count 1. (Id. at 11:11-11:12). At resentencing,


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the court applied the same factual analysis, but additionally included an

enhancement under USSG § 2D1.1(b)(1) for possession of a firearm. (Id. at 11:12-

11:15). The court noted that, with the enhanced guideline range, if it were to add the

same number of months to the low end of the range as it had previously, it would

end up with a 357-month sentence – two more months than the original sentence.

(Id. at 11:8-11:18). The court noted the fact that, while the firearm conviction was

no longer before the court, the conduct giving rise to the charge, as affirmed by the

Seventh Circuit, remained before the court under the § 2D1.1(b)(1) enhancement

and, therefore, there was little to change its view as to the analysis and imposition

of sentence. (Id. at 11:19-12:6). During that hearing, W hite in fact disputed the

application of the two-level enhancement for essentially the same reason as he does

now: that there was no evidence at trial to connect W hite to the firearm that served

as the basis for the enhancement. (Id. at 5:20-6:6).

       On June 5, 2001, W hite filed a motion for reconsideration of his previous

§ 2255 motion. The court dismissed the motion for lack of jurisdiction on June 11,

2001, concluding that it was in fact a successive motion and W hite had not obtained

leave from the Seventh Circuit to file. The Seventh Circuit denied W hite a certificate

of appealability on April 3, 2002. Since 2002, the docket has been dormant until

W hite’s current filing.

                                     ANALYSIS

       Because the court finds that the instant motion is in fact a successive § 2255

motion, it must dismiss it for lack of jurisdiction as the Seventh Circuit has not

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granted leave to file. W hite first argues that the motion is properly one for a writ of

error auditha querela, but the relief requested is covered by 28 U.S.C. § 2255 and,

therefore, the writ, even if generally available, is not the proper method for seeking

relief here.    White also argues that his motion is actually one for reduction of

sentence under 18 U.S.C. § 3582, but the basis for his requested relief is foreclosed

because the Supreme Court decision he appeals to is not retroactive. Thus, the

motion is in actuality one under § 2255 and, because it is a successive motion

without certification from the Seventh Circuit, the court must dismiss it for lack of

jurisdiction.

I.     WRIT OF ERROR AUDITHA QUERELA

       W hite first argues that his motion is properly one requesting a writ of error

auditha querela and, as such, he presents reasons urging availability of the writ.

Auditha querela is a common law writ providing “relief against a judgment or

execution because of some defense or discharge arising subsequent to the rendition

of the judgment.” United States v. Johnson, 962 F.2d 579, 582 (7th Cir. 1992) (citing

11 Charles A. W right & Arthur R. Miller, Federal Practice and Procedure § 2867, at

235 (1973)).      The rules of civil procedure have abolished the writ for civil

proceedings, Fed. R. Civ. P. 60(e), however, the Seventh Circuit has held open the

possibility that auditha querela remains available in criminal proceedings. 962 F.2d

at 583. However, whatever its actual availability, it may not be used to challenge the

legality of a sentence that could otherwise be challenged under 28 U.S.C. § 2255.




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Id. at 582.1 Here, W hite’s ultimate argument relies on either the fact that the two-

level guideline enhancement was inappropriately applied at the time, or became

inappropriately applied after the Supreme Court’s decision in United States v.

Booker, 543 U.S. 220 (2005). Though he is required to obtain leave from the

Seventh Circuit to file a successive motion (as discussed later), it remains the case

that § 2255 is available to W hite for the instant challenge. W hite’s only argument as

to the unavailability of § 2255 is that Booker had not yet been decided. But, as will

be discussed below, Booker is not retroactive. It would violate the spirit of Booker

to sidestep its bar on application to final judgments by issuing a writ for error auditha

querela instead. Thus, the court finds that this motion is not properly one for a writ

of error auditha querela.

II.    MOTION FOR REDUCTION OF SENTENCE

       W hite next argues that his motion should be granted pursuant to 18 U.S.C.

§ 3582(c)(2). By statute, a court may not modify an imposed term of imprisonment

unless, inter alia, the court sentenced the defendant based on a sentencing range

subsequently lowered by the U.S. Sentencing Commission. 18 U.S.C. § 3582(c)(2).

W hite bases his argument, however, on the fact that Booker made the sentencing

guidelines advisory. 543 U.S. at 249-59. He argues that the court should essentially

interpret Booker as amending the guidelines and lowering his sentencing range in

a manner so analogous to Sentencing Commission action that the court should


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         The Seventh Circuit has in fact expressed skepticism as to whether the writ is available at
all given that § 2255 is available to defendants in custody and writ of coram nobis is available to
those no longer in custody. United States v. Kimberlin, 675 F.2d 866, 869 (7th Cir. 1982).

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apply § 3582. But Booker is not retroactively applicable to judgments that became

final prior to the Supreme Court’s decision in that case. E.g., United States v.

Standiford, 129 Fed. App’x 304, 306 (7th Cir. 2005); United States v. Paladino, 401

F.3d 471, 481 (7th Cir. 2005). This rule applies to requests for reduction under

§ 3582. Standiford, 129 Fed. App’x at 306 (affirming denial of § 3582 motion).

Thus, W hite’s argument fails here as his judgment became final prior to Booker’s

release in 2005. There is no reason to construe this motion as one under § 3582.

III.   SUCCESSIVE MOTION UNDER SECTION 2255

       As a result, because W hite’s motion is neither properly one for a writ of error

auditha querela, nor one for a reduction of sentence pursuant to § 3582, the court

construes it as a motion under 28 U.S.C. § 2255.             Because this motion is

successive, and W hite has not been granted leave to file by the Seventh Circuit, the

court is without jurisdiction and must dismiss it. A prisoner in federal custody may

move the sentencing court to vacate, set aside, or correct the sentence. 28 U.S.C.

§ 2255(a). A “second or successive” motion must be certified by the court of

appeals before it may be filed with the district court. 28 U.S.C. § 2255(h). As W hite

has plainly filed a first § 2255 motion, and even filed a second, the instant motion,

after properly construing it as one under § 2255, is clearly successive. W hite has

not shown that the Seventh Circuit has certified the motion and, therefore, this court

has no power to decide it. Thus, the court must dismiss the motion.

       Accordingly,




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      IT IS ORDERED that the defendant’s Motion for W rit of Error Auditha Querela

(Docket #524) be and the same is hereby DISMISSED for lack of jurisdiction.

      Dated at Milwaukee, W isconsin, this 12th day of April, 2011.

                                             BY THE COURT:




                                             J.P. Stadtmueller
                                             U.S. District Judge




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